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 Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &     FOR COURT USE ONLY
 Email Address
 Richard M. Pachulski (CA Bar No. 90073)
 Jeffrey W. Dulberg (CA Bar No. 181200)
 Malhar S. Pagay (CA Bar No. 189289)
 PACHULSKI STANG ZIEHL & JONES LLP
 10100 Santa Monica Boulevard, 13th Floor
 Los Angeles, CA 90067
 Telephone: 310/277-6910
 Facsimile: 310/201-0760
 Email: rpachulski@pszjlaw.com
        jdulberg@pszjlaw.com
        mpagay@pszjlaw.com

      Attorney for: Debtor

                                         UNITED STATES BANKRUPTCY COURT
                                CENTRAL DISTRICT OF CALIFORNIA – LOS ANGELES DIVISION

 In re:                                                                     CASE NO.: 2:19-bk-24804-VZ

 YUETING JIA,                                                               CHAPTER: 11

                                                    Debtor(s).                        NOTICE OF OBJECTION TO CLAIM

                                                                            DATE: May 7, 2020
                                                                            TIME: 1:30 p.m.
                                                                            COURTROOM: 1368
                                                                            PLACE: 255 East Temple Street
                                                                                   Los Angeles, CA 90012



1. TO (specify claimant and claimant's counsel, if any):                  E-Town International Holding (HongKong) Co., Limited

2.   NOTICE IS HEREBY GIVEN that the undersigned has filed an objection to your Proof of Claim (Claim No. 16) filed in
     the above referenced case. The Objection to Claim seeks to alter your rights by disallowing, reducing or modifying
     the claim based upon the grounds set forth in the objection, a copy of which is attached hereto and served
     herewith.
3. Deadline for Opposition Papers: You must file and serve a response to the Objection to Claim not later than 14
   days prior to the hearing date set forth above.
     IF YOU FAIL TO TIMELY RESPOND IN ACCORDANCE WITH THIS NOTICE, THE COURT MAY GRANT THE
     RELIEF REQUESTED IN THE OBJECTION WITHOUT FURTHER NOTICE OR HEARING.


Date:     April 2, 2020                                                          PACHULSKI STANG ZIEHL & JONES LLP
                                                                                 Printed name of law firm
                                                                                 /s/ Malhar S. Pagay
                                                                                 Signature
Date Notice Mailed: April 2, 2020                                                Malhar S. Pagay
                                                                                 Printed name of attorney for objector




           This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.
December 2012                                                          Page 1                          F 3007-1.1.NOTICE.OBJ.CLAIM
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                                                                   1   Richard M. Pachulski (CA Bar No. 90073)
                                                                       Jeffrey W. Dulberg (CA Bar No. 181200)
                                                                   2   Malhar S. Pagay (CA Bar No. 189289)
                                                                       PACHULSKI STANG ZIEHL & JONES LLP
                                                                   3   10100 Santa Monica Blvd., 13th Floor
                                                                       Los Angeles, CA 90067
                                                                   4   Telephone: 310/277-6910
                                                                   5   Facsimile: 310/201-0760
                                                                       Email: rpachulski@pszjlaw.com
                                                                   6            jdulberg@pszjlaw.com
                                                                                mpagay@pszjlaw.com
                                                                   7
                                                                       Attorneys for Debtor and Debtor in Possession
                                                                   8

                                                                   9                                   UNITED STATES BANKRUPTCY COURT
                                                                  10                                    CENTRAL DISTRICT OF CALIFORNIA
                                                                  11
                                                                                                                  LOS ANGELES DIVISION
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12   In re:                                                  Case No.: 2:19-bk-24804-VZ
                                        LOS ANGELES, CALIFORNIA




                                                                  13   YUETING JIA,1
                                           ATTORNEYS AT LAW




                                                                                                                               Chapter 11
                                                                  14                                       Debtor.             DEBTOR’S NOTICE OF OMNIBUS
                                                                                                                               OBJECTION AND OMNIBUS OBJECTION
                                                                  15                                                           FOR AN ORDER DISALLOWING
                                                                                                                               DUPLICATE CLAIMS; MEMORANDUM OF
                                                                  16                                                           POINTS AND AUTHORITIES AND
                                                                                                                               DECLARATION OF LUETIAN SUN IN
                                                                  17                                                           SUPPORT THEREOF
                                                                  18                                                           This Objection Affects The Following Claimants:
                                                                                                                               Beijing Huaxing Mobile Asset Mgt Center, Claim 27
                                                                  19                                                           (Duplicate of Claim 20023)
                                                                                                                               Beijing Jiaxin Tengda Information Consulting Co.,
                                                                  20                                                           Ltd., Scheduled Claim 220000060 (Duplicate of Claim
                                                                                                                               20019)
                                                                  21                                                           China Soft Growing Invest Wuxi Partshp, Claim 61
                                                                                                                               (Duplicate of Claim 19)
                                                                  22                                                           Chongqing LeTV Commercial Factoring Co., Ltd.,
                                                                                                                               Claims 21 and 24 (Duplicates of Claim 20015)
                                                                  23                                                           E-Town Intl Holding (HK) Co Ltd., Claim 16
                                                                                                                               (Duplicate of Claim 20017)
                                                                  24                                                           Honghu Da, Claim 6 (Duplicate of Claim 20008)
                                                                                                                               Huizhou Speed Secondcurve Management LP, Claim
                                                                  25                                                           20002 (Duplicate of Claim 20001)
                                                                                                                               Jiangyin Hailan Invest. Holding Co. Ltd., Claim
                                                                  26                                                           20009 (Duplicate of Claim 7)
                                                                                                                               Linfen Investment Group Co., Ltd., Scheduled Claim
                                                                  27
                                                                       1
                                                                        The last four digits of the Debtor’s federal tax identification number are 8972. The Debtor’s mailing address is
                                                                  28   91 Marguerite Drive, Rancho Palos Verdes, CA 90275.


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                                                                   1                                                220000540 (Duplicate of Claim 30)
                                                                                                                    Nanchang O-Film Photoelectric Technology Co., Ltd,
                                                                   2                                                Claim 38 (Duplicate of Claim 33)
                                                                                                                    O-Film Global (HK) Trading Limited, Claim 34
                                                                   3                                                (Duplicate of Claim 33)
                                                                                                                    O-Film Global (HK) Trading Limited, Claim 37
                                                                   4                                                (Duplicate of Claim 33)
                                                                                                                    Pingan Bank Co Ltd Beijing Branch, Claim 20041
                                                                   5                                                (Duplicate of Claim 20036)
                                                                                                                    Shenzhen Yingda Capital Management Co.,
                                                                   6                                                Scheduled Claim 220000860 (Duplicate of Claim
                                                                                                                    20034)
                                                                   7                                                Tianjin Jairui Huixin Corp. Mgt LLC, Claim 42
                                                                                                                    (Duplicate of Claim 20027)
                                                                   8                                                Tianjin Jairui Huixin Corp. Mgt LLC, Claim 43
                                                                                                                    (Duplicate of Claim 20029)
                                                                   9                                                Tianjin Jairui Huixin Corp. Mgt LLC, Claim 44
                                                                                                                    (Duplicate of Claim 20030)
                                                                  10                                                Tianjin Jairui Huixin Corp. Mgt LLC, Claim 45
                                                                                                                    (Duplicate of Claim 20031)
                                                                  11                                                Tianjin Jairui Huixin Corp. Mgt LLC, Claim 46
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                                                                    (Duplicate of Claim 20032)
                                                                  12                                                Tianjin Jairui Huixin Corp. Mgt LLC, Claim 47
                                                                                                                    (Duplicate of Claim 20039)
                                        LOS ANGELES, CALIFORNIA




                                                                  13                                                Tianjin Yingxin Xinheng Investment Consulting Co.,
                                           ATTORNEYS AT LAW




                                                                                                                    Ltd., Claim 28 (Duplicate of Claim 20020)
                                                                  14                                                Weihua Qiu, Scheduled, Claim 220000960 (Duplicate
                                                                                                                    of Claim 12)
                                                                  15                                                Weihua Qiu, Claim 39 (Duplicate of Claim 12)
                                                                                                                    Western Securities Co., Ltd., Claim 32 (Duplicate of
                                                                  16                                                Claim 20028)
                                                                                                                    Wuxi Leyike Investment Enterprise, Claim 20025
                                                                  17                                                (Duplicate of Claim 20007)
                                                                                                                    Xizang Jinmeihua Investment Co., Ltd., Scheduled
                                                                  18                                                Claim 220001030 (Duplicate of Claim 29)

                                                                  19                                                Date:        May 7, 2020
                                                                                                                    Time:        1:30 p.m.
                                                                  20                                                Place:       Courtroom 1368
                                                                                                                                 Roybal Federal Building
                                                                  21                                                             255 E. Temple Street
                                                                                                                                 Los Angeles, California 90012
                                                                  22
                                                                                                                    Judge:       Hon. Vincent P. Zurzolo
                                                                  23

                                                                  24          PLEASE TAKE NOTICE that, on May 7, 2020, beginning at 1:30 p.m. (Pacific Time), or
                                                                  25   as soon thereafter as counsel may be heard before the Hon. Vincent P. Zurzolo, in Courtroom 1368
                                                                  26   of the Edward R. Roybal Federal Building and Courthouse, located at 255 E. Temple Street, Los
                                                                  27   Angeles, California 90012, pursuant to the Order (I) Approving the Fourth Amended Disclosure
                                                                  28   Statement; (II) Approving the Voting Procedures and Tabulation Procedures; (III) Setting the Date

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                                                                   1   and Time for the Confirmation Hearing and Related Deadlines; (IV) Waiving Certain Local Rules

                                                                   2   and Procedures Related to the Timing and Approval of the Fourth Amended Disclosure Statement

                                                                   3   and Confirmation of the Third Amended Plan; and (V) Granting Related Relief [Docket No. 485]

                                                                   4   (the “Disclosure Statement Order”), which provides, in pertinent part, that if the Debtor has served

                                                                   5   an objection or request for estimation as to a claim by April 2, 2020, such claim shall be temporarily

                                                                   6   disallowed for voting purposes only (and not for purposes of allowance or distribution), except to the

                                                                   7   extent and in the manner as may be set forth in such objection or as ordered by the Court before the

                                                                   8   voting deadline, i.e., April 30, 2020 at 4:00 p.m. (Beijing Time),2 Yueting Jia (the “Debtor” or

                                                                   9   “YT”), debtor and debtor in possession herein, hereby objects to and moves to disallow (the

                                                                  10   “Objection”) the claims (the “Duplicate Claims”) listed below in the column entitled “Duplicate

                                                                  11   Claims to Be Disallowed” filed by the listed claimants (the “Claimants”) on the grounds that the
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                                                                  12   Duplicate Claims are identical to those claims listed in the column entitled “Surviving Claims.” The
                                        LOS ANGELES, CALIFORNIA




                                                                  13   Debtor requests that the Court take judicial notice of both the Duplicate Claims to Be Disallowed
                                           ATTORNEYS AT LAW




                                                                  14   and the Surviving Claims, which are annexed as Exhibits 1-27 to the Request for Judicial Notice (the

                                                                  15   “RFJN), filed concurrently herewith.

                                                                  16                                      Duplicate
                                                                                                                                                                    Exhibit No. to
                                                                             Name of Claimant            Claim to be   Surviving Claim        Explanation
                                                                  17                                                                                                   RFJN
                                                                                                         Disallowed
                                                                  18        Beijing        Huaxing
                                                                            Mobile Asset Mgt                   27          20023         Duplicate Claim                  1
                                                                  19        Center
                                                                            Beijing Jiaxin Tengda                                        Creditor, Beijing Jiaxin         2
                                                                  20        Information                                                  Tengda Information
                                                                            Consulting Co., Ltd.                                         Consulting Co., Ltd.,
                                                                  21                                                                     also uses the name
                                                                                                                                         Jiaxindechuang BJ Tech
                                                                  22                                                                     Group Co Ltd. The
                                                                                                                                         Debtor scheduled
                                                                  23                                      220000060                      Beijing Jixain Tengda
                                                                                                          (scheduled       20019         Information Consulting
                                                                  24                                        claim)                       Co., Ltd. in the amount
                                                                                                                                         of $1,458,406.
                                                                  25                                                                     However, the creditor
                                                                                                                                         asserted the same debt
                                                                  26                                                                     using the name
                                                                                                                                         Jiaxindechuang BJ Tech
                                                                  27                                                                     Group Co Ltd. in filed
                                                                                                                                         claim number 20019 in
                                                                  28
                                                                       2
                                                                           Disclosure Statement Order, 6 at ¶ 17(e).

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                                                                   1                               Duplicate
                                                                                                                                                              Exhibit No. to
                                                                         Name of Claimant         Claim to be   Surviving Claim         Explanation
                                                                   2                                                                                             RFJN
                                                                                                  Disallowed
                                                                                                                                  the amount of
                                                                   3
                                                                                                                                  $1,975,674.74, and,
                                                                                                                                  consequently, has
                                                                   4
                                                                                                                                  received two separate
                                                                                                                                  ballots to vote a single
                                                                   5
                                                                                                                                  debt in connection with
                                                                                                                                  the Debtor’s Plan. The
                                                                   6
                                                                                                                                  filed proof of claim
                                                                                                                                  should supersede the
                                                                   7
                                                                                                                                  scheduled claim despite
                                                                                                                                  the difference in names.
                                                                   8

                                                                   9    China Soft Growing
                                                                                                      61              19          Duplicate Claim                   3
                                                                        Invest Wuxi Partshp
                                                                  10    Chongqing LeTv
                                                                        Commercial Factoring          21            20015         Duplicate Claim                   4
                                                                  11    LLC
                                                                        Chongqing LeTv
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                                                                  12    Commercial Factoring          24            20015         Duplicate Claim                   5
                                                                        LLC
                                        LOS ANGELES, CALIFORNIA




                                                                  13    E-Town Intl Holding                                                                         6
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                                                                                                      16            20017         Duplicate Claim
                                                                        (HK) Co Ltd
                                                                  14    Honghu Da                     6             20008         Duplicate Claim                   7
                                                                        Huizhou Speed                                                                               8
                                                                  15    Secondcurve                 20002           20001         Duplicate Claim
                                                                        Management LP,
                                                                  16    Jiangyin Hailan Invest                                    Creditor, Jiangyin                9
                                                                        Holding Co Ltd.                                           Hailan Invest Holding
                                                                  17                                                              Co. Ltd. filed Claim
                                                                                                                                  20009 in the amount of
                                                                  18                                                              $89,635,814.27,
                                                                                                                                  however, the back-up
                                                                                                    20009             7
                                                                  19                                                              attached to Claim 20009
                                                                                                                                  totals $69,635,814.27,
                                                                  20                                                              which amount is
                                                                                                                                  duplicative of Claim 7.
                                                                  21                                                              Therefore, Claim 20009
                                                                                                                                  should be disallowed.
                                                                  22    Linfen Investment                                         This creditor filed a            10
                                                                        Group Co. Ltd.                                            proof of claim for the
                                                                  23                                                              same debt under a
                                                                                                                                  similar but different
                                                                  24                                                              name (Linfen
                                                                                                                                  Investment Construction
                                                                  25                                                              Development Co. Ltd.)
                                                                                                  220000540           30
                                                                                                                                  and, consequently,
                                                                  26                                                              received ballots for both
                                                                                                                                  scheduled and filed
                                                                  27                                                              claims. The filed proof
                                                                                                                                  of claim should
                                                                  28                                                              supersede the scheduled
                                                                                                                                  claim and, with respect

                                                                                                                          4
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                                                                   1                              Duplicate
                                                                                                                                                             Exhibit No. to
                                                                         Name of Claimant        Claim to be   Surviving Claim        Explanation
                                                                   2                                                                                            RFJN
                                                                                                 Disallowed
                                                                                                                                 to the Plan, the amount
                                                                   3
                                                                                                                                 to be voted on account
                                                                                                                                 of the scheduled claim
                                                                   4
                                                                                                                                 should be disallowed.
                                                                   5
                                                                        Nanchang OFilm
                                                                   6    Photoelectric Tech Co        38              33              Duplicate Claim              11
                                                                        Ltd.
                                                                   7    O-Film Global (HK)                                           The creditor, in its         12
                                                                        Trading Limited                                            complaint against the
                                                                   8                                                             Debtor, describes it and
                                                                                                                                     Nanchang OFilm
                                                                   9                                                              Photoelectric Tech Co
                                                                                                                                 Ltd. as sister companies
                                                                  10                                                              and co-plaintiffs. The
                                                                                                     34              33
                                                                                                                                  lawsuit asserts a single
                                                                  11                                                             claim of $24,095,428.00
                                                                                                                                    against the Debtor.
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                                                                  12                                                               Accordingly, multiple
                                                                                                                                   claims asserted in the
                                        LOS ANGELES, CALIFORNIA




                                                                  13                                                                  same amount are
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                                                                                                                                        duplicative.
                                                                  14    O’Film Global (HK)
                                                                                                     37              33          Duplicate Claim                  13
                                                                        Trading Limited
                                                                  15    Pingan Bank Co Ltd                                                                        14
                                                                        Beijing Branch             20041           20036         Duplicate Claim
                                                                  16
                                                                        Shenzhen Yingda                                          This creditor                    15
                                                                  17    Capital Management                                       inadvertently received
                                                                        Co.                                                      ballots both for
                                                                  18                                                             scheduled and filed
                                                                                                                                 claims, so the amount to
                                                                                                 220000860         20034
                                                                  19                                                             be voted on account of
                                                                                                                                 the scheduled claim
                                                                  20                                                             should be disallowed.

                                                                  21
                                                                        Tianjin Jairui Huixin                                                                     16
                                                                                                     42            20027         Duplicate Claim
                                                                  22    Corp. Mgt LLC
                                                                        Tianjin Jairui Huixin                                                                     17
                                                                                                     43            20029         Duplicate Claim
                                                                  23    Corp. Mgt LLC
                                                                        Tianjin Jairui Huixin                                                                     18
                                                                                                     44            20030         Duplicate Claim
                                                                  24    Corp. Mgt LLC
                                                                        Tianjin Jairui Huixin                                                                     19
                                                                                                     45            20031         Duplicate Claim
                                                                  25    Corp. Mgt LLC
                                                                        Tianjin Jairui Huixin                                                                     20
                                                                                                     46            20032         Duplicate Claim
                                                                  26    Corp. Mgt LLC
                                                                        Tianjin Jairui Huixin                                                                     21
                                                                                                     47            20039         Duplicate Claim
                                                                  27    Corp. Mgt LLC
                                                                        Tianjin Yingxin                                                                           22
                                                                                                     28            20020         Duplicate Claim
                                                                  28    Xinheng Investment


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                                                                   1                               Duplicate
                                                                                                                                                              Exhibit No. to
                                                                          Name of Claimant        Claim to be   Surviving Claim          Explanation
                                                                   2                                                                                             RFJN
                                                                                                  Disallowed
                                                                         Consulting Co. Ltd.
                                                                   3
                                                                         Weihua Qiu                                                This creditor                    23
                                                                   4                                                               inadvertently received
                                                                                                                                   ballots both for
                                                                   5                              220000960                        scheduled and filed
                                                                                                  (scheduled           12          claims, so the amount to
                                                                   6                                claim)                         be voted on account of
                                                                                                                                   the scheduled claim
                                                                   7                                                               should be disallowed.

                                                                   8     Weihua Qiu                                                                                 24
                                                                                                      39               12          Duplicate claim

                                                                   9     Western Securities                                                                         25
                                                                         Co., Ltd.                    32             20028         Duplicate Claim
                                                                  10
                                                                         Wuxi Leyike                                                                                26
                                                                                                     20025           20007         Duplicate Claim
                                                                  11     Investment Enterprise
                                                                         Xizang Jinmeihua                                          In Chinese, Tibet is             27
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12     Investment Co., Ltd.                                      called Xizang. The
                                                                                                                                   creditor filed its claim
                                        LOS ANGELES, CALIFORNIA




                                                                  13                                                               using the name Tibet
                                           ATTORNEYS AT LAW




                                                                                                                                   Jinmeihua Investment
                                                                  14                                                               Co. Ltd. and,
                                                                                                  220001030                        consequently, has
                                                                  15                              (scheduled           29          received two separate
                                                                                                    claim)                         ballots to vote a single
                                                                  16                                                               debt in connection with
                                                                                                                                   the Debtor’s Plan. The
                                                                  17                                                               filed proof of claim
                                                                                                                                   should supersede the
                                                                  18                                                               scheduled claim despite
                                                                                                                                   the difference in names.
                                                                  19

                                                                  20          True and correct copies of the Claims are attached to the Notices of Objection to Claims,

                                                                  21   which have been served on each claimant, attaching their corresponding claim(s).

                                                                  22          PLEASE TAKE FURTHER NOTICE that the Objection has been served upon the

                                                                  23   Claimants and all parties entitled thereto and is based upon the supporting Memorandum of Points

                                                                  24   and Authorities and Declaration of Luetian Sun, the statements, arguments and representations of

                                                                  25   counsel who appear at the hearing regarding the Objection, the files and records in the above-

                                                                  26   captioned case, any evidence properly before the court prior to or at the hearing regarding the

                                                                  27   Objection and all matters of which the court may properly take judicial notice.

                                                                  28


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                                                                   1            PLEASE TAKE FURTHER NOTICE that pursuant to Local Bankruptcy Rule 9013-1(f),

                                                                   2   responses to the Objection must be filed with the Court and served upon the Debtor’s counsel at the

                                                                   3   address in the upper left-hand corner of this Objection no later than fourteen (14) days prior to

                                                                   4   the hearing date. Responses must contain a written statement of all reasons why the Objection is

                                                                   5   opposed and must include declarations and copies of all documentary evidence on which the

                                                                   6   responding party intends to rely. Responses must be filed either electronically or at the following

                                                                   7   location:

                                                                   8
                                                                                                           United States Bankruptcy Court
                                                                   9                                         Attention: Clerk’s Office
                                                                                                                255 E. Temple Street
                                                                  10                                          Los Angeles, CA 90012
                                                                  11            IF YOU DO NOT OPPOSE THE OBJECTION YOU DO NOT NEED TO FILE ANY
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                                                                  12   PAPERS, SIGN ANY FURTHER AGREEMENTS OR TAKE ANY FURTHER ACTION.
                                        LOS ANGELES, CALIFORNIA




                                                                  13            PLEASE TAKE FURTHER NOTICE that, pursuant to Local Bankruptcy Rule 9013-1(f),
                                           ATTORNEYS AT LAW




                                                                  14   the failure to timely file and serve written opposition may be deemed by the Court to be consent to
                                                                  15   the granting of the relief requested in the Objection.
                                                                  16            PLEASE TAKE FURTHER NOTICE that if a response is timely filed and served upon the
                                                                  17   Debtor’s counsel, the Court, in its discretion, may treat the initial hearing as a status conference if it
                                                                  18   determines that the Objection involves disputed factual issues or will require presentation of
                                                                  19   substantial evidence or argument.
                                                                  20            WHEREFORE, the Debtor respectfully requests that the Court enter an order (i) sustaining
                                                                  21   the Objection; (ii) disallowing the Duplicate Claims in their entirety; and (iii) granting the Debtor
                                                                  22   such other and further relief as may appropriate under the circumstances.
                                                                  23
                                                                       Dated:      April 2, 2020                      PACHULSKI STANG ZIEHL & JONES LLP
                                                                  24

                                                                  25                                                  By        /s/ Malhar S. Pagay
                                                                                                                                Richard M. Pachulski
                                                                  26                                                            Jeffrey W. Dulberg
                                                                                                                                Malhar S. Pagay
                                                                  27
                                                                                                                                Counsel for Debtor and Debtor in
                                                                  28                                                            Possession

                                                                                                                            7
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                                                                   1                            MEMORANDUM OF POINTS AND AUTHORITIES

                                                                   2                                                      I.
                                                                   3                                             JURISDICTION
                                                                   4           This Court has jurisdiction over this proceeding pursuant to 28 U.S.C. §§ 157 and 1334.

                                                                   5   Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409. The statutory predicates for the relief

                                                                   6   sought herein are sections 102, 105 and 502(b) of title 11 of the United States Code, 11 U.S.C. §§

                                                                   7   101, et seq. (the “Bankruptcy Code”), and Rules 3007 and 3018(a) of the Federal Rules of

                                                                   8   Bankruptcy Procedure (the “Bankruptcy Rules”).

                                                                   9                                                     II.
                                                                  10                                             BACKGROUND
                                                                  11   A.      Commencement of the Chapter 11 Case
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                                                                  12           On October 14, 2019 (the “Petition Date”), the Debtor commenced this case (the “Chapter 11
                                        LOS ANGELES, CALIFORNIA




                                                                  13   Case”) by filing a voluntary petition for relief under chapter 11 of the Bankruptcy Code in the
                                           ATTORNEYS AT LAW




                                                                  14   United States Bankruptcy Court for the District of Delaware (the “Delaware Bankruptcy Court”).

                                                                  15   The Debtor continues in possession of his property and manages his affairs as a debtor in possession

                                                                  16   pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

                                                                  17           On October 25, 2019, the U.S. Trustee appointed the Official Committee of Unsecured

                                                                  18   Creditors pursuant to section 1102(a)(1) of the Bankruptcy Code (the “Committee”) [Docket No.

                                                                  19   45]. The Committee consists of the following members: (a) Ping An Bank., Ltd. Beijing Branch; (b)

                                                                  20   China Minsheng Trust Co., Ltd; (c) Shanghai Leyu Chuangye Investment Management Center LP;

                                                                  21   (d) Jiangyin Hailan Investment Holding Co., Ltd; and (e) Shanghai Qichengyueming Investment

                                                                  22   Partnership Enterprise.

                                                                  23           On November 13, 2019, the Court entered an order setting January 24, 2020, as the general

                                                                  24   deadline (the “Bar Date”) for the filing of proofs of claim or proofs of interest against the Debtor’s

                                                                  25   estate. In accordance with the Court’s Order establishing the Bar Date, notice of the Bar Date was

                                                                  26   given by mail to the Debtor’s creditors and interest holders.

                                                                  27           On December 18, 2019, Judge Karen B. Owens of the Delaware Bankruptcy Court

                                                                  28   transferred the Chapter 11 Case to this Court.


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                                                                   1   B.      Approval of the Debtor’s Disclosure Statement

                                                                   2           On March 20, 2020, the Court entered the Disclosure Statement Order, pursuant to which the

                                                                   3   Court approved the Debtor’s Fourth Amended Disclosure Statement with Respect to Debtor’s Third

                                                                   4   Amended Plan of Reorganization Under Chapter 11 of the Bankruptcy Code [Docket No. 465] in

                                                                   5   respect of the Debtor’s Third Amended Plan of Reorganization Under Chapter 11 of the Bankruptcy

                                                                   6   Code [Docket No. 464] (the “Plan”), and granted other relief.

                                                                   7           The Disclosure Statement Order provides, in pertinent part, that if the Debtor has served an

                                                                   8   objection or request for estimation as to a claim by April 2, 2020, such claim shall be temporarily

                                                                   9   disallowed for voting purposes only and not for purposes of allowance or distribution, except to the

                                                                  10   extent and in the manner as may be set forth in such objection, or as ordered by the Court before the

                                                                  11   voting deadline, i.e., April 30, 2020 at 4:00 p.m. (Beijing Time). Disclosure Statement Order, 6 at
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                                                                  12   ¶ 17(e).
                                        LOS ANGELES, CALIFORNIA




                                                                  13                                                      III.
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                                                                  14                                                 ARGUMENT
                                                                  15   A.      Procedural Requirements for Objections to Claims
                                                                  16           Bankruptcy Rule 3007 governs the procedure for objections to claims. It provides as

                                                                  17   follows: “An objection to an allowance of a claim shall be in writing and filed. A copy of the

                                                                  18   objection with notice of the hearing thereon shall be mailed or otherwise delivered to the claimant

                                                                  19   . . . at least thirty days prior to the hearing.” Fed. R. Bankr. P. 3007.

                                                                  20           Pursuant to Bankruptcy Rule 3007, a copy of the Objection will be mailed to Claimants at the

                                                                  21   addresses provided by Claimants in the Claims, and, where available and if different from the

                                                                  22   address provided on the proof of claim, on each Claimant’s address registered with the National

                                                                  23   Enterprise Credit Information Publicity System (http://www.gsxt.gov.cn/index.html), a government-

                                                                  24   run, national, enterprise credit inquiry system in the People’s Republic of China, at least thirty days

                                                                  25   prior to the hearing date for consideration of the Objection. Accordingly, by the time of the hearing

                                                                  26   hereon, the Debtor will have complied with Bankruptcy Rule 3007.

                                                                  27

                                                                  28


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                                                                   1
                                                                       B.      The Court Must Determine the Allowance of a Claim Subject to Objection
                                                                   2
                                                                               With certain exceptions, section 502(b) of the Bankruptcy Code requires, in relevant part,
                                                                   3
                                                                       that if a party in interest objects to a claim, “the Court, after notice and a hearing, shall determine the
                                                                   4
                                                                       amount of such claim in lawful currency of the United States as of the date of the filing of the
                                                                   5
                                                                       petition, and shall allow such claim in such amount, except to the extent that -- (1) such claim is
                                                                   6
                                                                       unenforceable against the debtor and property of the debtor, under any agreement or applicable law
                                                                   7
                                                                       for a reason other than because such claim is contingent or unmatured ….”
                                                                   8
                                                                       C.      Burden of Proof
                                                                   9
                                                                               All allegations set forth in a properly filed proof of claim are taken as true and, if the
                                                                  10
                                                                       allegations set forth all facts necessary to establish a claim and are not self-contradictory, the proof
                                                                  11
                                                                       of claim constitutes prima facie evidence of the validity and amount of the claim. 11 U.S.C.
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                                                                  12
                                                                       § 502(a); Fed. R. Bankr. P. 3001(f). However, a claimant must attach copies of writings upon which
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                                                                  13
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                                                                       claims are based in order to carry its burden of establishing a prima facie case against the debtor.
                                                                  14
                                                                       Hardin v. Gianni (In re King Investments Inc.), 219 B.R. 848, 858 (B.A.P. 9th Cir. 1998). Further, a
                                                                  15
                                                                       claim should not be allowed if that claim is unenforceable against the debtor and property of the
                                                                  16
                                                                       debtor, under any agreement or applicable law. 11 U.S.C. § 502(b)(1).
                                                                  17
                                                                               Once the objector raises “facts tending to defeat the claim by probative force equal to that of
                                                                  18
                                                                       the allegations of the proofs of claim themselves,” Wright v. Holm (In re Holm), 931 F.2d 620, 623
                                                                  19
                                                                       (9th Cir. 1991), then “the burden reverts to the claimant to prove the validity of the claim by a
                                                                  20
                                                                       preponderance of the evidence.” Ashford v. Consolidated Pioneer Mortgage (In re Consolidated
                                                                  21
                                                                       Pioneer Mortgage), 178 B.R. 222, 226 (B.A.P. 9th Cir. 1995), aff’d, 91 F.3d 151 (9th Cir. 1996).
                                                                  22
                                                                       “[T]he ultimate burden of persuasion is always on the claimant.” Holm, 931 F.2d at 623. In
                                                                  23
                                                                       considering an objection to a claim, a bankruptcy court may take judicial notice of the underlying
                                                                  24
                                                                       records in a bankruptcy case. O’Rourke v. Seaboard Surety Co., (In re ER Fergert, Inc.), 887 F.2d
                                                                  25
                                                                       955, 957-958 (9th Cir. 1998).
                                                                  26
                                                                       D.      Disallowance for Plan Voting Purposes
                                                                  27
                                                                               Courts recognize that Bankruptcy Rule 3018(a) permits a party in interest to seek to disallow
                                                                  28
                                                                       a claim for voting purposes. Ultimately, the determination of whether to temporarily allow a claim

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                                                                   1   for voting purposes lies within the discretion of the bankruptcy court. See Armstrong v. Rushton (In

                                                                   2   re Armstrong), 294 B.R. 344, 354 (B.A.P. 10th Cir. 2003) (“There is no guidance in the Bankruptcy

                                                                   3   Code to courts as to determine whether to permit the temporary allowance of a claim; it is left to the

                                                                   4   court’s discretion.”). Indeed, courts have broad authority to determine whether to allow or disallow

                                                                   5   a claim for purposes of voting under Bankruptcy Rule 3018(a). See, e.g., In re Mangia Pizza Invs.,

                                                                   6   L.P., 480 B.R. 669, 679 (Banker. W.D. Tex. 2012); In re Zolner, 174 B.R. 629, 633 (Bankr. N.D. Ill.

                                                                   7   1994) (noting that a court must exercise its discretion to allow or disallow a claim under Bankruptcy

                                                                   8   Rule 3018(a) based on reasoned analysis); In re Goldstein, 114 B.R. 430, 433 (Bankr. E.D. Pa.

                                                                   9   1990); Collier on Bankr. ¶ 9-3018[5] (16th ed. rev. 2012) (“The court, however, regardless of the

                                                                  10   circumstances, has the discretion to allow or disallow all or part of the claim for voting purposes.”).

                                                                  11            In some cases noted in the chart below, the Debtor has been advised that a Claimant
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                                                                  12   inadvertently has been provided with multiple ballots to vote on the Debtor’s Plan on account of a
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                                                                  13   single debt. Where that has occurred, the Debtor has requested that the Court disallow one of those
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                                                                  14   Duplicate Claims for voting purposes.

                                                                  15   E.       The Objection and Request for Relief

                                                                  16            In most instances, the Duplicate Claim and the relevant Surviving Claim are the exact same

                                                                  17   claim in the same amount filed by the Claimant using the same name, and therefore the Duplicate

                                                                  18   Claim can be disallowed readily. The chart below provides further explanation for the request for

                                                                  19   disallowance where the claims may not be exact duplicates of one another, but fall within the

                                                                  20   Duplicate Claims category that is the subject of this Objection. For example, slight variations in the

                                                                  21   name or entity utilized by a Claimant to assert a debt against the Debtor or issues of translation from

                                                                  22   Chinese to English have required a more careful review to determine that two claims are, in fact, the

                                                                  23   same.

                                                                  24                                   Duplicate
                                                                                                                                                                 Exhibit No. to
                                                                            Name of Claimant          Claim to be   Surviving Claim         Explanation
                                                                  25                                                                                                RFJN
                                                                                                      Disallowed
                                                                  26        Beijing        Huaxing
                                                                            Mobile Asset Mgt              27            20023         Duplicate Claim                  1
                                                                  27        Center
                                                                            Beijing Jiaxin Tengda     220000060                       Creditor, Beijing Jiaxin         2
                                                                  28        Information               (scheduled        20019         Tengda Information
                                                                            Consulting Co., Ltd.        claim)                        Consulting Co., Ltd.,

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                                                                   1                                  Duplicate
                                                                                                                                                                Exhibit No. to
                                                                           Name of Claimant          Claim to be   Surviving Claim        Explanation
                                                                   2                                                                                               RFJN
                                                                                                     Disallowed
                                                                                                                                     also uses the name
                                                                   3
                                                                                                                                     Jiaxindechuang BJ Tech
                                                                                                                                     Group Co Ltd. The
                                                                   4
                                                                                                                                     Debtor scheduled
                                                                                                                                     Beijing Jixain Tengda
                                                                   5
                                                                                                                                     Information Consulting
                                                                                                                                     Co., Ltd. in the amount
                                                                   6
                                                                                                                                     of $1,458,406.
                                                                                                                                     However, the creditor
                                                                   7
                                                                                                                                     asserted the same debt
                                                                                                                                     using the name
                                                                   8
                                                                                                                                     Jiaxindechuang BJ Tech
                                                                                                                                     Group Co Ltd. in filed
                                                                   9
                                                                                                                                     claim number 20019 in
                                                                                                                                     the amount of
                                                                  10
                                                                                                                                     $1,975,674.74, and,
                                                                                                                                     consequently, has
                                                                  11
                                                                                                                                     received two separate
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                                                                                                                                     ballots to vote a single
                                                                  12
                                                                                                                                     debt in connection with
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                                                                                                                                     the Debtor’s Plan. The
                                                                  13
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                                                                                                                                     filed proof of claim
                                                                                                                                     should supersede the
                                                                  14
                                                                                                                                     scheduled claim despite
                                                                                                                                     the difference in names.
                                                                  15

                                                                  16      China Soft Growing
                                                                                                         61              19          Duplicate Claim                  3
                                                                          Invest Wuxi Partshp
                                                                  17      Chongqing LeTv
                                                                          Commercial Factoring           21            20015         Duplicate Claim                  4
                                                                  18      LLC
                                                                          Chongqing LeTv
                                                                  19      Commercial Factoring           24            20015         Duplicate Claim                  5
                                                                          LLC
                                                                  20      E-Town Intl Holding                                                                         6
                                                                                                         16            20017         Duplicate Claim
                                                                          (HK) Co Ltd
                                                                  21      Honghu Da                      6             20008         Duplicate Claim                  7
                                                                          Huizhou Speed                                                                               8
                                                                  22      Secondcurve                  20002           20001         Duplicate Claim
                                                                          Management LP,
                                                                  23      Jiangyin Hailan Invest                                     Creditor, Jiangyin               9
                                                                          Holding Co Ltd.                                            Hailan Invest Holding
                                                                  24                                                                 Co. Ltd. filed Claim
                                                                                                                                     20009 in the amount of
                                                                  25                                                                 $89,635,814.27,
                                                                                                                                     however, the back-up
                                                                                                       20009             7
                                                                  26                                                                 attached to Claim 20009
                                                                                                                                     totals $69,635,814.27,
                                                                  27                                                                 which amount is
                                                                                                                                     duplicative of Claim 7.
                                                                  28                                                                 Therefore, Claim 20009
                                                                                                                                     should be disallowed.

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                                                                   1                                  Duplicate
                                                                                                                                                                 Exhibit No. to
                                                                           Name of Claimant          Claim to be   Surviving Claim         Explanation
                                                                   2                                                                                                RFJN
                                                                                                     Disallowed
                                                                          Linfen Investment                                          This creditor filed a            10
                                                                   3
                                                                          Group Co. Ltd.                                             proof of claim for the
                                                                                                                                     same debt under a
                                                                   4
                                                                                                                                     similar but different
                                                                                                                                     name (Linfen
                                                                   5
                                                                                                                                     Investment Construction
                                                                                                                                     Development Co. Ltd.)
                                                                   6
                                                                                                                                     and, consequently,
                                                                                                                                     received ballots for both
                                                                   7
                                                                                                     220000540           30          scheduled and filed
                                                                                                                                     claims. The filed proof
                                                                   8
                                                                                                                                     of claim should
                                                                                                                                     supersede the scheduled
                                                                   9
                                                                                                                                     claim and, with respect
                                                                                                                                     to the Plan, the amount
                                                                  10
                                                                                                                                     to be voted on account
                                                                                                                                     of the scheduled claim
                                                                  11
                                                                                                                                     should be disallowed.
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                                                                  12
                                                                          Nanchang OFilm
                                        LOS ANGELES, CALIFORNIA




                                                                  13      Photoelectric Tech Co          38              33              Duplicate Claim              11
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                                                                          Ltd.
                                                                  14      O-Film Global (HK)                                             The creditor, in its         12
                                                                          Trading Limited                                              complaint against the
                                                                  15                                                                 Debtor, describes it and
                                                                                                                                         Nanchang OFilm
                                                                  16                                                                  Photoelectric Tech Co
                                                                                                                                     Ltd. as sister companies
                                                                  17                                                                  and co-plaintiffs. The
                                                                                                         34              33
                                                                                                                                      lawsuit asserts a single
                                                                  18                                                                 claim of $24,095,428.00
                                                                                                                                        against the Debtor.
                                                                  19                                                                   Accordingly, multiple
                                                                                                                                       claims asserted in the
                                                                  20                                                                      same amount are
                                                                                                                                            duplicative.
                                                                  21      O’Film Global (HK)
                                                                                                         37              33          Duplicate Claim                  13
                                                                          Trading Limited
                                                                  22      Pingan Bank Co Ltd                                                                          14
                                                                          Beijing Branch               20041           20036         Duplicate Claim
                                                                  23
                                                                          Shenzhen Yingda                                            This creditor                    15
                                                                  24      Capital Management                                         inadvertently received
                                                                          Co.                                                        ballots both for
                                                                  25                                                                 scheduled and filed
                                                                                                                                     claims, so the amount to
                                                                                                     220000860         20034
                                                                  26                                                                 be voted on account of
                                                                                                                                     the scheduled claim
                                                                  27                                                                 should be disallowed.

                                                                  28
                                                                          Tianjin Jairui Huixin          42            20027         Duplicate Claim                  16

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                                                                   1                                  Duplicate
                                                                                                                                                                Exhibit No. to
                                                                           Name of Claimant          Claim to be   Surviving Claim        Explanation
                                                                   2                                                                                               RFJN
                                                                                                     Disallowed
                                                                          Corp. Mgt LLC
                                                                   3
                                                                          Tianjin Jairui Huixin                                                                      17
                                                                                                         43            20029         Duplicate Claim
                                                                   4      Corp. Mgt LLC
                                                                          Tianjin Jairui Huixin                                                                      18
                                                                                                         44            20030         Duplicate Claim
                                                                   5      Corp. Mgt LLC
                                                                          Tianjin Jairui Huixin                                                                      19
                                                                                                         45            20031         Duplicate Claim
                                                                   6      Corp. Mgt LLC
                                                                          Tianjin Jairui Huixin                                                                      20
                                                                                                         46            20032         Duplicate Claim
                                                                   7      Corp. Mgt LLC
                                                                          Tianjin Jairui Huixin                                                                      21
                                                                                                         47            20039         Duplicate Claim
                                                                   8      Corp. Mgt LLC
                                                                          Tianjin Yingxin                                                                            22
                                                                   9      Xinheng Investment             28            20020         Duplicate Claim
                                                                          Consulting Co. Ltd.
                                                                  10      Weihua Qiu                                                 This creditor                   23
                                                                                                                                     inadvertently received
                                                                  11                                                                 ballots both for
                                                                                                     220000960                       scheduled and filed
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                                                                  12                                 (scheduled          12          claims, so the amount to
                                                                                                       claim)                        be voted on account of
                                        LOS ANGELES, CALIFORNIA




                                                                  13                                                                 the scheduled claim
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                                                                                                                                     should be disallowed.
                                                                  14
                                                                          Weihua Qiu                                                                                 24
                                                                                                         39              12          Duplicate claim
                                                                  15
                                                                          Western Securities                                                                         25
                                                                  16      Co., Ltd.                      32            20028         Duplicate Claim

                                                                  17      Wuxi Leyike
                                                                                                       20025           20007         Duplicate Claim
                                                                                                                                                                     26
                                                                          Investment Enterprise
                                                                  18      Xizang Jinmeihua                                           In Chinese, Tibet is            27
                                                                          Investment Co., Ltd.                                       called Xizang. The
                                                                  19                                                                 creditor filed its claim
                                                                                                                                     using the name Tibet
                                                                  20                                                                 Jinmeihua Investment
                                                                                                                                     Co. Ltd. and,
                                                                  21                                 220001030                       consequently, has
                                                                                                     (scheduled          29          received two separate
                                                                  22                                   claim)                        ballots to vote a single
                                                                                                                                     debt in connection with
                                                                  23                                                                 the Debtor’s Plan. The
                                                                                                                                     filed proof of claim
                                                                  24                                                                 should supersede the
                                                                                                                                     scheduled claim despite
                                                                  25                                                                 the difference in names.

                                                                  26

                                                                  27           By this Objection, the Debtor simply seeks to have disallowed the Duplicate Claims leaving

                                                                  28   the Surviving Claims unaffected by this Objection.


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                                                                   1                                                     IV.

                                                                   2                                 GENERAL RESERVATION OF RIGHTS

                                                                   3            The Debtor expressly reserves the right to amend, modify or supplement this Objection, and

                                                                   4   to file additional, other, or further objections to any proofs of claim filed in this Chapter 11 Case,

                                                                   5   including, without limitation, objections as to the amounts asserted therein, or any other claims (filed

                                                                   6   or not) against the Debtor, regardless of whether such claims are subject to this Objection. Should

                                                                   7   one or more of the grounds of objection stated in this Objection be denied, the Debtor reserves his

                                                                   8   rights to object on other stated grounds or on any other grounds he discovers during the pendency of

                                                                   9   this Chapter 11 Case. In addition, the Debtor reserves the right to file counterclaims against the

                                                                  10   holders of any such claims.

                                                                  11                                                      V.
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12                                                   NOTICE
                                        LOS ANGELES, CALIFORNIA




                                                                  13            The Debtor will serve copies of this Objection on: (a) the Claimants, (b) the Office of the
                                           ATTORNEYS AT LAW




                                                                  14   United States Trustee, (c) counsel to the Committee, and (d) all parties who have requested notices

                                                                  15   in this Chapter 11 Case pursuant to Bankruptcy Rule 2002.

                                                                  16                                                     VI.

                                                                  17                                               CONCLUSION

                                                                  18            WHEREFORE, the Debtor respectfully requests that the Court enter an order granting the

                                                                  19   relief requested herein and granting the Debtor such other and further relief as is just and proper.

                                                                  20   Dated:               2020
                                                                                    April __,                         PACHULSKI STANG ZIEHL & JONES LLP

                                                                  21

                                                                  22                                                  /s/ Malhar S. Pagay
                                                                                                                      Richard M. Pachulski
                                                                  23                                                  Jeffrey W. Dulberg
                                                                                                                      Malhar S. Pagay
                                                                  24
                                                                                                                      Attorneys for Debtor and Debtor in Possession
                                                                  25

                                                                  26

                                                                  27

                                                                  28


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                                         PROOF OF SERVICE OF DOCUMENT
 I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                           10100 Santa Monica Boulevard, 13th Floor, Los Angeles, CA 90067

 A true and correct copy of the foregoing document entitled (specify): DEBTOR’S NOTICE OF OMNIBUS
 OBJECTION AND OMNIBUS OBJECTION FOR AN ORDER DISALLOWING DUPLICATE
 CLAIMS; MEMORANDUM OF POINTS AND AUTHORITIES AND DECLARATION OF LUETIAN
 SUN IN SUPPORT THEREOF will be served or was served (a) on the judge in chambers in the form and manner
 required by LBR 5005-2(d); and (b) in the manner stated below:

 1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
 Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
 April 2, 2020, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
 following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:


                                                                                          Service information continued on attached page

 2. SERVED BY UNITED STATES MAIL:
 On (date) April 2, 2020, I served the following persons and/or entities at the last known addresses in this bankruptcy case
 or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first
 class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge
 will be completed no later than 24 hours after the document is filed.

 United States Bankruptcy Court
 Central District of California
 Attn: Hon. Vincent Zurzolo
 Edward R. Roybal Federal Bldg./Courthouse
 255 East Temple Street, Suite 1360
 Los Angeles, CA 90012
                                                                                          Service information continued on attached page

 3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method for
 each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) ___________, I served the
 following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such
 service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that
 personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.


                                                                                          Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 April 2, 2020      Nancy H. Brown                                                            /s/ Nancy H. Brown
 Date                      Printed Name                                                       Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
June 2012                                                                                         F 9013-3.1.PROOF.SERVICE
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SERVICE INFORMATION FOR CASE NO. 2:19-bk-24804-VZ
1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF)

    x    Tanya Behnam tbehnam@polsinelli.com, tanyabehnam@gmail.com
    x    Jerrold L Bregman ecf@bg.law, jbregman@bg.law
    x    Jeffrey W Dulberg jdulberg@pszjlaw.com
    x    Lei Lei Wang Ekvall lekvall@swelawfirm.com,
         lgarrett@swelawfirm.com;gcruz@swelawfirm.com;jchung@swelawfirm.com
    x    Stephen D Finestone sfinestone@fhlawllp.com
    x    Richard H Golubow rgolubow@wghlawyers.com,
         pj@wcghlaw.com;jmartinez@wghlawyers.com;Meir@virtualparalegalservices.com
    x    Alexandra N Krasovec krasovec.alexandra@dorsey.com, claridge.vanessa@dorsey.com
    x    Ben H Logan blogan@omm.com
    x    Robert S Marticello Rmarticello@swelawfirm.com,
         gcruz@swelawfirm.com;lgarrett@swelawfirm.com;jchung@swelawfirm.com
    x    David W. Meadows david@davidwmeadowslaw.com
    x    John A Moe john.moe@dentons.com, glenda.spratt@dentons.com
    x    Kelly L Morrison kelly.l.morrison@usdoj.gov
    x    Malhar S Pagay mpagay@pszjlaw.com, bdassa@pszjlaw.com
    x    Christopher E Prince cprince@lesnickprince.com, jmack@lesnickprince.com;cprince@ecf.courtdrive.com
    x    Victor A Sahn vsahn@sulmeyerlaw.com,
         pdillamar@sulmeyerlaw.com;pdillamar@ecf.inforuptcy.com;vsahn@ecf.inforuptcy.com;cblair@sulmeyerlaw.com;cblair@ecf
         .inforuptcy.com;dlee@metallawgroup.com;dlee@ecf.inforuptcy.com
    x    Randye B Soref rsoref@polsinelli.com, ccripe@polsinelli.com;ladocketing@polsinelli.com
    x    Benjamin Taylor btaylor@taylorlawfirmpc.com
    x    United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
    x    Felix T Woo fwoo@ftwlawgroup.com, admin@ftwlawgroup.com
    x    Claire K Wu ckwu@sulmeyerlaw.com,
         mviramontes@sulmeyerlaw.com;ckwu@ecf.courtdrive.com;ckwu@ecf.inforuptcy.com
    x    Emily Young pacerteam@gardencitygroup.com, rjacobs@ecf.epiqsystems.com;ECFInbox@epiqsystems.com
    x    David B Zolkin dzolkin@ztlegal.com, maraki@ztlegal.com,sfritz@ztlegal.com




    This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
June 2012                                                                            F 9013-3.1.PROOF.SERVICE
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United States Bankruptcy Court for the Central District Of California - Los Angeles Division Your Mail ID is                        159210012

                                                                                                     For Court Use Only
 Name of Debtor: Yueting Jia                                                                         Claim Number:        0000020017

 Case Number:          19-24804                                                                      File Date:           01/19/2020 01:13:10



Proof of Claim (Official Form 410)
 Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. With the exception of 503(b)(9),
 do not use this form to make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.
 Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
 documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
 mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
 explain in an attachment.
 A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.
 Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.



                                                                                                                                                              04/19




Part 1:      Identify the Claim

1. Who is the current creditor?                                                 E-TOWN INTL HOLDING(HK) CO LTD
Name of the current creditor (the person or entity to be paid for this claim): _______________________________________________________________________

Other names the creditor used with the debtor: _______________________________________________________________________________________________


2.      Has this claim been acquired from someone else?    □✔ No □ Yes.      From whom? ___________________________________________________________



3.      Where should notices and payments to the creditor be sent? Federal Rule of Bankruptcy Procedure (FRBP) 2002(g)
Where should notices to the creditor be sent?                                     Where should payments to the creditor be sent? (if different)

Name          E-TOWN INTL HOLDING(HK) CO LTD
             ________________________________________________________              Name        ________________________________________________________

Address        23-25 FLOORS, BLOCK A,YAICHENG WEALTH
              _______________________________________________________              Address     _______________________________________________________
               22 RONGHUA ROAD ECONOMIC & TECHNOLOGICAL
              _______________________________________________________                          _______________________________________________________
               DEVELOPMENT ZONE DAXING DISTRICT
              _______________________________________________________                          _______________________________________________________
              BEIJING
City          _______________________________________________________              City        _______________________________________________________
                                                    100176
State         ______________________      ZIP Code _______________________         State       ______________________        ZIP Code _______________________
                            CHINA
Country (if International): __________________________________________             Country (if International): __________________________________________

Phone:       _______________________________________________________               Phone:     _______________________________________________________

Email:       _______________________________________________________               Email:     _______________________________________________________


4. Does this claim amend one already filed?                                        5. Do you know if anyone else has filed a proof of claim for this claim?
□✔ No                                                                              □✔ No
□ Yes.                                                                             □ Yes.
     Claim number on court claims register (if known) _____________________           Who made the earlier filing?

     Filed on ______________________________________________________                  _____________________________________________________________
                               MM / DD / YYYY

                                                                               Page 1 of 3
Part 2:       Case
            Give       2:19-bk-24804-VZ
                 Information                        Doc
                             About the Claim as of the    539
                                                       Date        Filed
                                                            the Case      04/03/20
                                                                     Was Filed                        Entered 04/03/20 13:29:18                              Desc
 6. Do you have any number you use to
                                                            Main Document                     Page 90  of 160
                                                                                                    8. What is the basis of the claim?
                                                7. How much is the claim?
    identify the debtor?                           83,349,315.07             unliquidated
                                                $_______________________________________
□ No                                                                                                    Examples: Goods sold, money loaned, lease, services performed,
                                                                                                        personal injury or wrongful death, or credit card. Attach redacted
□
✔ Yes.                                          Does this amount include interest or other              copies of any documents supporting the claim required by Bankruptcy
Last 4 digits of the debtor’s account or any                                                            Rule 3001(c). Limit disclosing information that is entitled to privacy,
                                                charges?
number you use to identify the debtor:                                                                  such as health care information.
     8972
     ____ ____ ____ ___
                                                □ No
                                                □✔ Yes.   Attach statement itemizing interest, fees,    _________________________________________________________
                                                          expenses, or other charges required by
                                                          Bankruptcy Rule 3001(c)(2)(A).

9. Is all or part of the claim secured?                                  10. Is this claim based on a lease?         11. Is this claim subject to a right of setoff?
□
✔ No                                                                     □
                                                                         ✔ No                                        □
                                                                                                                     ✔ No
□ Yes.    The claim is secured by a lien on property.
                                                                         □ Yes. Amount necessary to cure             □ Yes. Identify the property:
                                                                         any default as of the date of petition.
Nature of property:
□ Real estate. If the claim is secured by the debtor’s principal         $_____________________________               ___________________________________________

residence, file a Mortgage Proof of Claim Attachment (official Form
410-A) with this Proof of Claim.
□ Motor vehicle                                                          12. Is all or part of the claim entitled to priority             A claim may be partly priority and
                                                                             under 11 U.S.C. § 507(a)?                                    partly nonpriority. For example, in
□ Other. Describe:
                        ____________________________________             □
                                                                         ✔ No
                                                                                                                                          some categories, the law limits the
                                                                                                                                          amount entitled to priority.
Basis
i     for perfection:                                                    □ Yes. Check one:                                                Amount entitled to priority
                          _____________________________________
Attach redacted copies of documents, if any, that show evidence of
                                                                         □   Domestic support obligations (including alimony and          $_____________________
perfection of security interest (for example, a mortgage, lien,          child support) under 11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).
certificate of title, financing statement, or other document that        □ Up to $3,025* of deposits toward purchase, lease, or           $_____________________
shows the lien has been filed or recorded.)                              rental of property or services for personal, family, or
Value of property:                        $_____________________         household use. 11 U.S.C. § 507(a)(7).

Amount of the claim that is secured:      $_____________________
                                                                         □ Wages, salaries, or commissions (up to $13,650*)               $_____________________
                                                                         earned within 180 days before the bankruptcy petition is
Amount of the claim that is unsecured: $_____________________            filed or the debtor’s business ends, whichever is earlier.
(The sum of the secured and unsecured amounts should match the           11 U.S.C. § 507(a)(4).                                           $_____________________
amount in line 7.)                                                       □ Taxes or penalties owed to governmental units.
                                                                         11 U.S.C. § 507(a)(8).
Amount necessary to cure any                                                                                                              $_____________________
default as of the date of the petition: $_____________________           □ Contributions to an employee benefit plan. 11 U.S.C. §
                                                                         507(a)(5).
Annual Interest Rate (when case was filed)       ______________%                                                                          $_____________________
                                                                         □ Other. Specify subsection of 11 U.S.C. § 507 (a)
                                               □ Fixed □ Variable        (___________) that applies.
                                                                         * Amounts are subject to adjustment on 4/01/22 and every 3 years after that for cases begun on
                                                                         or after the date of adjustment.


13. Does this claim qualify as an Administrative Expense under 11 U.S.C. § 503(b)(9)?
□
✔ No
□ Yes. Amount that qualifies as an Administrative Expense under 11 U.S.C. § 503(b)(9): $_____________________________




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Part 3:       Case
           Sign Below2:19-bk-24804-VZ                    Doc 539 Filed 04/03/20 Entered 04/03/20 13:29:18                                             Desc
                            Check the appropriate box:
                                                         Main Document    Page 91 of 160
The person completing
this proof of claim must    □
                            ✔ I am the creditor.
sign and date it. FRBP
9011(b).
                            □ I am the creditor’s attorney or authorized agent.
                            □ I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
If you file this claim      □ I am a guarantor, surety, endorser, or other co-debtor. Bankruptcy Rule 3005.
electronically, FRBP
5005(a)(2) authorizes       I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating the amount of the claim,
courts to establish local   the creditor gave the debtor credit for any payments received toward the debt.
rules specifying what a     I have examined the information in this Proof of Claim and have a reasonable belief that the information is true and correct.
signature is.
                            I declare under penalty of perjury that the foregoing is true and correct.
A person who files a
fraudulent claim could         Wei Yuan                                                                       01/19/2020 01:13:10
                             _____________________________________
                            ____________________________________________________________                     __________________________________
be fined up to $500,000,
                            Signature                                                                       Date
imprisoned for up to 5
years, or both. 18 U.S.C.   Provide the name and contact information of the person completing and signing this claim:
§§ 152, 157, and 3571.
                                      WEI YUAN
                            Name      ______________________________________________________________________________________________
                                    23-24 FLOORS, BLOCK A
                            Address _____________________________________________________________________________________________
                                      YICHENG WEALTH, 22 RONGHUA MIDDLE ROAD
                                      _____________________________________________________________________________________________
                                      BEIJING ECONOMIC-TECH DEVELOPMENT AREA
                                      _____________________________________________________________________________________________
                                      BEIJING
                            City      _____________________________________________________________________________________________
                                                                                             100176
                            State      ________________________________________________ Zip _________________________________________
                                                        P.R. CHINA
                            Country (in international) _______________________________________________________________________________
                                      +86 13801220419
                            Phone     _____________________________________________________________________________________________
                                       yuanwei@etowncapital.com
                            Email     _____________________________________________________________________________________________




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                                         PROOF OF SERVICE OF DOCUMENT
 I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

                                10100 Santa Monica Boulevard, 13th Floor, Los Angeles, CA 90067

 A true and correct copy of the foregoing document entitled (specify): NOTICE OF OBJECTION TO CLAIM
 [Claim #16] will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-
 2(d); and (b) in the manner stated below:

 1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
 Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
 April 3, 2020, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
 following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:




                                                                                          Service information continued on attached page

 2. SERVED BY UNITED STATES MAIL:
 On (date) April 3, 2020, I served the following persons and/or entities at the last known addresses in this bankruptcy case
 or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first
 class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge
 will be completed no later than 24 hours after the document is filed.

 United States Bankruptcy Court
 Central District of California
 Attn: Hon. Vincent Zurzolo
 Edward R. Roybal Federal Bldg./Courthouse
 255 East Temple Street, Suite 1360
 Los Angeles, CA 90012


                                                                                          Service information continued on attached page

 3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method for
 each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) ___________, I served the
 following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such
 service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that
 personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.




                                                                                          Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 April 3, 2020      Nancy H. Brown                                                            /s/ Nancy H. Brown
 Date                      Printed Name                                                       Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                         F 9013-3.1.PROOF.SERVICE
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SERVICE INFORMATION FOR CASE NO. 2:19-bk-24804-VZ
TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF)

       Jerrold L Bregman ecf@bg.law, jbregman@bg.law
       Jeffrey W Dulberg jdulberg@pszjlaw.com
       Lei Lei Wang Ekvall lekvall@swelawfirm.com, lgarrett@swelawfirm.com;gcruz@swelawfirm.com;jchung@swelawfirm.com
       Stephen D Finestone sfinestone@fhlawllp.com
       Richard H Golubow rgolubow@wghlawyers.com,
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       Alexandra N Krasovec krasovec.alexandra@dorsey.com, claridge.vanessa@dorsey.com
       Ben H Logan blogan@omm.com
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        foruptcy.com;dlee@metallawgroup.com;dlee@ecf.inforuptcy.com
       Randye B Soref rsoref@polsinelli.com, ccripe@polsinelli.com;ladocketing@polsinelli.com
       Benjamin Taylor btaylor@taylorlawfirmpc.com
       United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
       Felix T Woo fwoo@ftwlawgroup.com, admin@ftwlawgroup.com
       Claire K Wu ckwu@sulmeyerlaw.com,
        mviramontes@sulmeyerlaw.com;ckwu@ecf.courtdrive.com;ckwu@ecf.inforuptcy.com
       Emily Young pacerteam@gardencitygroup.com, rjacobs@ecf.epiqsystems.com;ECFInbox@epiqsystems.com
       David B Zolkin dzolkin@ztlegal.com, maraki@ztlegal.com,sfritz@ztlegal.com




          This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2012                                                         Page 2                          F 3007-1.1.NOTICE.OBJ.CLAIM
DOCS_LA:328789.1 46353/002
